Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 1 of 13
        Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 2 of 13




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                                    CLERK’S MINUTES


                                The Honorable Julie S. Sneed
                                     Courtroom 11A

                             United States v. Robert Scott Palmer
                                    8:21-mj-1247-T-JSS


Date: March 17, 2021                           Court Reporter: Digital
                                               Interpreter: N/A
Time: 2:13 PM–2:37 PM | Total: 24 mins.        Deputy Clerk: Clara Reaves
Government Counsel                             Defense Counsel
Patrick Scruggs, AUSA                          Bjorn Brunvand, Retained

               Initial Appearance-Rule 5/Bond Hearing/Detention Hearing
Defendant present and provided a copy of the Complaint.
Arrest Date: 3/17/2021
Court summarizes the charges and advises Defendant of Rule 5 rights.
Proceedings conducted pursuant to Rule 5(c)
Preliminary hearing waived.
Identity hearing waived.
Government does not seek detention.
Defendant does not oppose the government’s motion for release.
Court sets the following conditions of release: appear in court in accordance with all notices;
travel restricted to the Middle District of Florida and District of Columbia, reside at current
address and cannot change address without PTS approval; cannot commit crime; report to PTS
as directed; no new travel documents, no narcotic drugs unless prescribed by a licensed
medical practitioner, submit to mental health evaluation and treatment, continue employment,
$25k signature bond, co-signed by Carol Peros, Third party custodian.

Due Process Act Oral Order given.
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 3 of 13
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 4 of 13
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 5 of 13
 Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 6 of 13




                         CONDITIONS OF RELEASE

1. Defendant must appear in court as required and, if convicted, must surrender as directed
   to serve a sentence that the court may impose.

2. Defendant must advise the United States Pretrial Services or supervising officer in
   writing before making any change of residence or telephone number.
3. Defendant must not, at any time, for any reason whatsoever, leave the Middle District
   of Florida or District of Columbia without first obtaining written permission of the
   United States District Court.
4. Defendant must not violate federal, state, or local law while on release.
   SPECIAL CONDITIONS OF DEFENDANT'S RELEASE:
   a. Defendant shall submit to supervision by and report for supervision to the United
      States Pretrial Services as directed by the United States Pretrial Services or
      supervising officer.
   b. Defendant shall not obtain a passport or other international travel document.

   c. Defendant may travel to the District of Columbia to/for Court proceedings only.
      Prior to any travel, Defendant must notify the United States Pretrial Services of the
      date of travel, travel itinerary, and the specific address of residence within the
      District of Columbia.
   d. Defendant shall report to the District of Columbia on March 23, 2021 at 1 :00 p.m
      via Zoom. for proceedings in that district.
   e. Defendant shall not possess a firearm, destructive device, or other weapon.

   f. Defendant shall not use alcohol at all.
   g. Defendant shall not use or unlawfully possess a narcotic drug or other controlled
      substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
      practitioner.
   h. Defendant shall submit to mental health evaluation and any treatment deemed
      necessary, to include psychiatric medication and treatment, with the costs to be
      borne by Defendant as directed by United States Pretrial Services.
   1.   Defendant shall continue employment.

   J. Defendant shall execute an appearance bond binding Defendant to pay the United
      States of America the sum of $25,000, co-signed by Carol Peros, with no deposit
      made into the Registry of the Court, in the event of a failure to appear as required


                                         2
         Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 7 of 13




                 or to surrender as directed for service of any sentence imposed or for failure to obey
                 any and all of the conditions of release imposed herein.

            k. Defendant is placed in the custody of Carol Peros, who agrees to: (a) supervise
               Defendant; (b) use every effort to assure Defendant's appearance at all court
               proceedings; and (c) notify the comt immediately if Defendant violates a condition
               of release or is no longer in the custodian's custody.

                                                                               March 17, 2021
                              Custodian's Signature                                  Date

                                                                .._
                                  City and State                             Telephone Number

            I.   De fendant shall report as soon as possible, to the United States Pretrial Services or
                 supervising officer, every contact with law enforcement personnel, including
                 al1'ests, questioning, or traffic stops.



                          ADVICE OF PENALTIES AND SANCTIONS

        Defendant is advised of the following penalties and sanctions:

         Violating any of the foregoing conditions of release may result in the immediate issuance
of a warrant for your arrest, a revocation of your release, an order of detention, a forfeiture of any
bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.
         While on release, if you commit a federal felony offense the punishment is an additional
prison term of not more than ten years and for a federal misdemeanor offense the punishment is
an additional prison term of not more than one year. This sentence will be consecutive (i.e., in
addition to) to any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to:
obstruct a criminal investigation; tamper with a witness, victim, or informant; retaliate or attempt
to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
         If, after release, you knowingly fail to appear as the conditions of release require, or to
surrender to serve a sentence, you may be prosecuted for failing to appear or surrender and
additional punishment may be imposed. If you are convicted of:

        (1) an offense punishable by death, life imprisonment, or imprisonment for a te1m
            of fifteen years or more - you will be fined not more than $250,000 or
            imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but
            less than fifteen years - you will be fined not more than $250,000 or
            imprisoned for not more than five years, or both;

                                                   3
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 8 of 13
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 9 of 13
       Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 10 of 13




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                              Case No.: 8:21-mj-01247-JSS
                                                        Charging District
                                                  Case No. 1:21-mj-00301
ROBERT SCOTT PALMER/

              ORDER HOLDING DEFENDANT TO ANSWER
             AND TO APPEAR IN DISTRICT OF PROSECUTION

      Defendant, having appeared before this Court pursuant to Federal Rule of

Criminal Procedure 5(c)(2), proceedings having been concluded, and Defendant

released pending further proceedings:

      IT IS ORDERED that Defendant be held to answer in the United States District

Court for the District of Columbia and shall appear at all proceedings as required.

Defendant shall next appear before Magistrate Judge Zia Faruqui on March 23, 2021.

      DONE and ORDERED in Tampa, Florida, on March 17, 2021.




Copy furnished to:
Counsel of Record
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 11 of 13
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 12 of 13
Case 1:21-mj-00301-GMH Document 9 Filed 03/18/21 Page 13 of 13
